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                                  San Francisco, CA 94108
                             12   Tel: 415 496 6723
                                  Fax: 650 636 9251
Weil, Gotshal & Manges LLP

 New York, NY 10153-0119




                             13
                                  Proposed Attorneys for Debtors
      767 Fifth Avenue




                             14   and Debtors in Possession

                             15
                                                               UNITED STATES BANKRUPTCY COURT
                             16
                                                               NORTHERN DISTRICT OF CALIFORNIA
                             17
                                                                      SAN FRANCISCO DIVISION
                             18

                             19                                                      Bankruptcy Case No. 19-30088 (DM)

                             20     In re:                                           Chapter 11

                             21     PG&E CORPORATION,                                (Lead Case) (Jointly Administered)

                             22              - and -                                 NOTICE OF FILING OF (I) ORDINARY
                                                                                     COURSE PROFESSIONAL
                             23     PACIFIC GAS AND ELECTRIC                         DECLARATIONS AND RETENTION
                                    COMPANY,                                         QUESTIONNAIRES AND (II) LIST OF
                             24                                                      ADDITIONAL ORDINARY COURSE
                                                                   Debtors.          PROFESSIONALS
                             25
                                     Affects PG&E Corporation                       Related Docket Ref: Docket Nos. 350 & 707
                             26      Affects Pacific Gas and Electric Company
                                     Affects both Debtors
                             27
                                    * All papers shall be filed in the Lead Case,
                             28     No. 19-30088 (DM).


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                                                                               6
             PLEASE TAKE NOTICE that on January 29, 2019 (the “Petition Date”), PG&E
1    Corporation (“PG&E Corp.”) and Pacific Gas and Electric Company (the “Utility”), as debtors and
2    debtors in possession (the “Debtors”) in the above-captioned chapter 11 cases (the “Chapter 11
     Cases”), each filed a voluntary petition for relief under chapter 11 of title 11 of the United States
3    Code (the “Bankruptcy Code”) with the United States Bankruptcy Court for the Northern District
     of California (San Francisco Division) (the “Court”).
4
             PLEASE TAKE FURTHER NOTICE that on February 27, 2019, the Court entered the
5    Order Pursuant to 11 U.S.C. §§ 105(a), 327, 328, and 330 Authorizing the Debtors to Employ
6    Professionals Used in the Ordinary Course of Business Nunc Pro Tunc to the Petition Date [Dkt No.
     707] (the “OCP Order”) authorizing the Debtors to retain and compensate legal services
7    professionals that the Debtors employ in the ordinary course of business (collectively, the
     “Ordinary Course Professionals”) subject to the terms of the OCP Order. 1
8
             PLEASE TAKE FURTHER NOTICE that in accordance with the OCP Order, attached
9
     hereto as Exhibits A-1 through A-64 are the OCP Declarations and Retention Questionnaires for
10   the following Ordinary Course Professionals:
                       •   Allen Matkins Leck Gamble Mallory & Natsis LLP
11
                       •   Alvaradosmith, APC
12
                       •   Amanda C. Lewis, Attorney at Law, Inc.
13
                       •   Armbruster Goldsmith & Delvac LLP
14
                       •   Barg Coffin Lewis & Trapp, LLP
15
                       •   Boersch Shapiro LLP
16
                       •   Castellon & Funderburk, LLP
17
                       •   Chou Law Group (f/k/a Nakamoto Chou)
18
                       •   CJG Legal
19
                       •   Coleman, Chavez & Associates LLP
20
                       •   Cox Castle & Nicholson, LLP
21
                       •   Day Carter & Murphy LLP
22
                       •   Ebbin, Moser & Skaggs LLP
23
                       •   Egoscue Law Group, Inc.
24
                       •   Ericksen Arbuthnot
25

26
     1
       Capitalized terms used but not otherwise herein defined shall have the meanings ascribed to such
27
     terms in the OCP Order.
28

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                                                6
1                  •   Eversheds Sutherland (US), LLP

2                  •   Farella Braun + Martel LLP

3                  •   Flesher Schaff & Schroeder, Inc.

4                  •   Friedman & Springwater LLP

5                  •   Gordon-Creed, Kelley, Holl & Sugerman, LLP

6                  •   Gough & Hancock LLP

7                  •   Hanson Bridgett LLP

8                  •   Horvitz & Levy LLP

9                  •   Hunton Andrews Kurth LLP

10                 •   Hwang Law Group

11                 •   Jackson Lewis P.C.

12                 •   Kronenberg Law, P.C.

13                 •   Lambert Law

14                 •   Latham & Watkins LLP

15                 •   Law Offices of J. Drew Page

16                 •   Law Offices of Jennie L. Lee

17                 •   Law Offices of Jennifer L. Dodge Inc.

18                 •   Law Offices of Kollitz & Kollitz, LLP

19                 •   Law Offices of Lindsey How-Downing

20                 •   Law Offices of Lucinda L. Storm, Esq.

21                 •   Law Office of Mario A. Moya

22                 •   Law Offices of Martha J. Simon

23                 •   Law Offices of Michael L. Gallo

24                 •   Law Offices of Tamara Gabel

25                 •   Lee Law Offices

26                 •   LimNexus, LLP

27                 •   McClellan & Corren

28

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                                           6
1                      •    Miller & Chevalier

2                      •    Miller Starr Regalia

3                      •    Nielsen Merksamer Parrinello Gross & Leoni LLP

4                      •    Noland, Hamerly, Etienne & Hoss

5                      •    Nossaman LLP

6                      •    Opterra Law, Inc.

7                      •    Pasich LLP

8                      •    Peters, Habib, McKenna, Juhl-Rhodes & Cardoza, LLP

9                      •    Pillsbury Winthrop Shaw Pittman LLP

10                     •    Ralls, Gruber & Niece LLP

11                     •    Rovens Lamb LLP

12                     •    Samuelsen, Gonzalez, Valenzuela & Brown LLP

13                     •    Sanchez & Amador LLP

14                     •    Sheppard, Mullin, Richter & Hampton LLP

15                     •    Sinnott, Puebla, Campagne & Curet, APLC

16                     •    Steptoe & Johnson LLP

17                     •    Urrabazo Law, P.C.

18                     •    Vedder Price P.C.

19                     •    Wai & Connor, LLP

20                     •    Walsworth WFBM, LLP

21                     •    Winston & Strawn LLP

22                     •    Younossi Law

23           PLEASE TAKE FURTHER NOTICE that in accordance with the OCP Order, the Debtors
     hereby file and submit the following list of additional Ordinary Course Professionals to be added to
24   the initial list of Ordinary Course Professionals (the “OCP List Supplement”), along with the
     attendant OCP Declarations and Retention Questionnaires attached hereto as Exhibits B-1 through
25   B-10:
26                      •   Brown Rudnick LLP

27                      •   Burke, Williams & Sorensen, LLP

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                                                6
1                        •   Harris Wiltshire & Grannis LLP

2                        •   Law Office of John H. Kenney

3                        •   Levine, Blaszak, Block & Boothby, LLP

4                        •   Littler Mendelson, P.C.

5                        •   Paul Hastings LLP

6                        •   Redgrave LLP

7                        •   Regulatory Law Chambers

8                        •   Wilson Elser Moskowitz Edelman & Dicker LLP

9            PLEASE TAKE FURTHER NOTICE that any Ordinary Course Professional retained
     pursuant to an OCP List Supplement will be paid in accordance with the terms and conditions set forth
10   in the Procedures.
11           PLEASE TAKE FURTHER NOTICE that pursuant to the OCP Order, the Debtors will
     serve copies of the OCP Declarations and Retention Questionnaires on (a) the United States Trustee
12   for Region 17, (b) Milbank LLP, as counsel to the Official Committee of Unsecured Creditors, (c)
     Baker & Hostetler LLP, as counsel to the Official Committee of Tort Claimants, (d) counsel to any
13   other statutory committees appointed in these Chapter 11 Cases, and (e) counsel for the agent under
     the Debtors’ debtor-in possession financing facility (collectively, the “Reviewing Parties”).
14
             PLEASE TAKE FURTHER NOTICE that pursuant to the OCP Order, the Reviewing
15   Parties have fifteen (15) days from the date hereof (the “Retention Objection Deadline”) to file with
     the Court and serve on (a) the attorneys for the Debtors and (b) the relevant Ordinary Course
16   Professional (the “Objection Recipients”) any objection to the retention, employment, or
     compensation of the Ordinary Course Professional based on the OCP Declaration and Retention
17   Questionnaire. If no objection to the retention of an Ordinary Course Professional is filed with the
     Court and served on the Objection Recipients before the Retention Objection Deadline, the retention
18   and employment of such professional shall be deemed approved without further order of the Court. If
     a timely objection to the retention of any Ordinary Course Professional is filed with the Court and
19   served on the Objection Recipients, and such objection cannot be resolved within fourteen (14) days
     after the Retention Objection Deadline, the Debtors will file a notice of hearing and schedule the matter
20   for adjudication by the Court at the next available hearing that is at least seven (7) days from the date
     of such notice.
21
              PLEASE TAKE FURTHER NOTICE that copies of each pleading identified herein can be
22   viewed and/or obtained: (i) by accessing the Court’s website at http://www.canb.uscourts.gov, (ii) by
     contacting the Office of the Clerk of the Court at 450 Golden Gate Avenue, San Francisco, CA
23   94102, or (iii) from the Debtors’ notice and claims agent, Prime Clerk LLC, at
     https://restructuring.primeclerk.com/pge or by calling (844) 339-4217 (toll free) for U.S.-based
24   parties; or +1 (929) 333-8977 for International parties or by e-mail at: pgeinfo@primeclerk.com.
     Note that a PACER password is needed to access documents on the Court’s website.
25

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                                                 6
1    Dated: March 29, 2019
2                                     WEIL, GOTSHAL & MANGES LLP
                                      KELLER & BENVENUTTI LLP
3
                                       /s/ Jane Kim
4                                                  Jane Kim
5                                      Proposed Attorneys for Debtors and Debtors in
                                       Possession
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